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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

DARRIE WALTON,                  )
                                )
          Plaintiff,            )
                                )           Civil No. 4:16-cv-00269-JCH
v.                              )
                                )           Jury Trial Demanded
HATHAWAY VILLAGE PARTNERS, LLC, )
ANITA CHIMENTO,                 )
MARY HAWKINS,                   )
VALERIE DAVIS,                  )
ANTHONY IRVING,                 )
                                )
          Defendants.           )

               DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
                   PLAINTIFF’S MOTION TO AMEND/STAY

     COME NOW Defendants Hathaway Village Partners, LLC, Anita

Chimento,   Mary    Hawkins,      Valerie    Davis,    and   Anthony    Irving

(collectively     “Defendants”),     by   and    through   counsel,    and    for

their Response to Plaintiff’s Motion/Petition to Judge for Stay

of Plaintiff’s Right to Tenancy at 11490 Latonka Trail Apt. D

and to Amend Complaint to Include Age Discrimination, Disparate

Treatment and Retaliation states as follows:

                                  INTRODUCTION

     On   April    13,    2016,    Plaintiff     Darrie    Walton   filed     her

“Motion/Petition     to   Judge     for   Stay   of   Plaintiff’s     Right   to

Tenancy at 11490 Latonka Trail Apt. D and to Amend Complaint to

Include Age Discrimination, Disparate Treatment and Retaliation”

(hereinafter the “Motion”). In her motion, Plaintiff seeks to
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amend    her   initial    Complaint    to   include       new    counts       of     age

discrimination,      disparate    treatment    of    a    senior      citizen,       and

retaliation. Plaintiff alleges that, based on her filing of the

instant lawsuit, Defendants’ have engaged in retaliatory actions

against    her,    such   as,    not   renewing       her      lease    agreement,

threatening to shut off her water, forcibly opening her mailbox,

and fraudulently making claims on her renter’s insurance policy.

These claims are without merit. Plaintiff also claims that due

to Defendants’ decision not to renew Plaintiff’s lease, she is

being disparately treated and discriminated against due to her

age, as she is too old to move out the apartment.

       Plaintiff     further     requests     that       the    Court        enter     a

restraining order against Defendant Hathaway Village Partners,

LLC,    precluding    Hathaway    Village   from      terminating        her    lease

agreement until the resolution of this litigation. Because the

new counts of age discrimination, disparate treatment, and age

discrimination       Plaintiff   proposes     to     include     in     an    amended

petition are futile in nature, and Defendants decision not to

renew Plaintiff’s lease agreement is not a retaliatory action,

this Court must deny Plaintiff’s Motion to amend her Complaint

and Stay her tenancy.
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                                          ARGUMENT

I.     Motion to Amend

       “Proper justification for denying motion for leave to amend

complaint includes: undue delay, bad faith or dilatory motive on

the part of the movant, undue prejudice to the opposing party by

virtue    of        allowance       of     the     amendment,          and       futility    of

amendment.” Bell v. Allstate Life Ins. Co., 160 F.3d 452 (8th

Cir.    1998).       Because      the     new     counts       of    age     discrimination,

disparate treatment, and age discrimination Plaintiff proposes

to include in an amended petition are futile in nature, this

Court must deny Plaintiff’s Motion to amend her Complaint.

       A court may properly deny a motion to amend a pleading if

the amendment would be futile. Popoalii v. Corr. Med. Servs.,

512    F.3d    488,    497     (8th      Cir.2008).        A    determination        that    an

amendment      is     futile      means     the    court       has    reached      the   legal

conclusion     that     the       amended    complaint         could       not   withstand   a

motion to dismiss under Rule 12(b)(6) of the Federal Rules of

Civil Procedure. Downing v. Riceland Foods, Inc., 298 F.R.D.

587, 590-91 (E.D. Mo. 2014).

       Plaintiff’s proposed additional claims are futile, as the

claims were not raised in either of Plaintiff’s discrimination

claims filed with the Missouri Commission on Human Rights (MCHR)

and the U.S. Department of Housing and Urban Development (HUD).

“Before   initiating          a    civil    action     under         the     Missouri    Human
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Rights   Act    (MHRA),   a   claimant     must     exhaust    administrative

remedies by timely filing an administrative complaint and either

adjudicating the claim through the MCHR or obtaining a right-to-

sue letter.” see Mo. Rev. Stat. §§ 213.075, 213.111(1); see also

Roberts v. Panhandle E. Pipeline Co., 763 F.Supp. 1043, 1048

(W.D.Mo.1991). Exhaustion requires a claimant to give notice of

all claims of discrimination in the administrative complaint.

Tart v. Hill Behan Lumber Co., 31 F.3d 668, 671 (8th Cir. 1994).

Thus, the scope of the civil suit, filed after a Plaintiff has

received a right-to-sue letter, may be only as broad as the

administrative investigation,        but    may include, however,          those

claims which are like or reasonably related to the charges set

forth in the original administrative complaint. see generally

Id.

      Plaintiff’s    newly     raised      allegations    of     retaliation,

disparate treatment, and retaliation are not like or reasonably

related Plaintiff’s charges with the MCHR and HUD of disability

discrimination. Plaintiff’s original complaints to MCHR and HUD

set   forth    sweeping   allegations      of     discrimination    based     on

Plaintiff’s     disabilities.      Plaintiff        did   not      raise    any

allegations of discrimination or disparate treatment based on

her age, or any claims of retaliation in her original complaints

to MCHR and HUD.
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       In Williams v. Little Rock Mun. Water Works, the Eighth

Circuit Court of Appeals decided whether a retaliation claim was

like     or     reasonably       related       to    racial       discrimination       claim

arising out of an employment discrimination complaint with the

Equal       Employment    Opportunity          Commission         (EEOC).    Williams       v.

Little Rock Mun. Water Works, 21 F.3d 218, 223 (8th Cir. 1994).

The     Court    declared        in    Williams,         “Allowing    a     complaint      to

encompass allegations outside the ambit of the predicate EEOC

charge        would   circumscribe             the       EEOC’s     investigatory          and

conciliatory role, as well as deprive the charged party notice

of    the     charge.”    Id.     The      Court     ultimately      decided     that      the

Plaintiff’s       claims     of       race    discrimination         are    separate       and

distinct form her claims of retaliation.

       The      Seventh    Circuit           has    similarly       held    in     Rush     v.

McDonald’s       Corp.,    that       it     will    not   suffice    to    file    general

discrimination charges with an administrative agency, and then

expect that those general charges will permit any and all claims

of discrimination to be set forth in a subsequent lawsuit. See

Rush v. McDonald’s Corp., 966 F.2d 1104, 1112 (7th Cir. 1992).

The    same     principles       set    forth       in   Williams    and    Rush    can     be

applied to the instant case. Allowing Plaintiff to amend her

initial Complaint to encompass allegations outside the ambit of

her    initial     MCHR    and    HUD      complaints       would    circumscribe         both

administrative agencies’ investigatory roles, and would deprive
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Defendants of notice of any age discrimination or retaliation

charges. Plaintiff should not be permitted to include any and

all   claims     of    discrimination         in      the      current     lawsuit,     simply

because    she    filed       general      claims         of    discrimination        at    the

administrative level.

      Therefore,         because          Plaintiff            failed    to     raise       any

allegations       of    age    discrimination,              disparate       treatment,        or

retaliation in her administrative complaints to MCHR or HUD, her

proposed amendments to her original Complaint are futile, as

they would not survive a motion to dismiss under Rule 12(b)(6)

of the Federal Rules of Civil Procedure.

II.   Motion to Stay

      Through     her     Motion      to     Stay,        Plaintiff        is   essentially

requesting     the     Court    to    enter       a   temporary         restraining        order

precluding Defendants from exercising their rights to decline to

renew her lease prior to the resolution of this litigation.

Under R.S.Mo. § 213.111, “the court may grant as relief, as it

deems     appropriate,         any    permanent           or     temporary      injunction,

temporary restraining order, or other order” after a right to

sue letter has been issued by the Missouri Commission on Human

Rights. Mo. Rev. Stat. § 213.111 (2015). While it is within the

authority    of    the    Court      to    enter      a     restraining       order   in     the

appropriate       circumstances,            the       Court       should      exercise       its

discretion and deny Plaintiff’s Motion for Stay.
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       Whether a preliminary injunction or temporary restraining

order should issue involves consideration of (1) the threat of

irreparable harm to the movant; (2) the state of balance between

this   harm       and   the     injury        that   granting          the   injunction     will

inflict      on    other      parties     litigant;         (3)    the       probability    that

movant will succeed on the merits; and (4) the public interest.

Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 114 (8th

Cir. 1981) A temporary restraining order is an extraordinary and

drastic remedy. King v. Blake, No. 4:08CV1050 RWS, 2009 WL 73678

(E.D. Mo. 2009); citing Williams Pipe Line Co. v. City of Mounds

View, Minnesota, 651 F.Supp. 544, 548 (D.Minn.1986). The burden

of proving that the relief should be awarded rests entirely on

the movant. Goff v. Harper, 60 F.3d 518, 520 (8th Cir.1995).

       Plaintiff        has     failed    to     show      any    irreparable       harm    will

befall her should the Court deny her a temporary restraining

order. Defendants gave Plaintiff sixty days’ notice of their

intent not to renew Plaintiff’s lease agreement. Sixty days is

more   than       adequate      time     to    locate      a     new    apartment    and    make

moving arrangements in a major metropolitan area like St. Louis.

       “Likelihood         of    success       on    the    merits       requires    that    the

movant find support for its position in governing law. In order

to weigh in the movant's favor, the movant's success on the

merits must be ‘at least ... sufficiently likely to support the

kind    of    relief       it     requests.’”         McLeodUSA          Telecommunications
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Servs., Inc. v. Qwest Corp., 361 F. Supp. 2d 912, 919 (N.D. Iowa

2005). Plaintiff has not provided any support for her position

in governing law that would warrant the type of relief that she

requests. In fact, she has completely failed to adequately plead

her request for a temporary restraining order. Plaintiff cannot

provide    support    for     her    position    with    governing     law,    and

therefore, her request for a restraining order should be denied.

     The   lease     agreement      entered   into    between     Plaintiff    and

Defendants expires by its own terms on May 31, 2016. Plaintiff

cannot, and will not, be able to prove any facts that Defendants

have acted in any type of retaliatory manner in exercising their

contractual right not to renew the lease agreement. By the terms

of the lease agreement, Defendants are under no obligation to

renew the lease agreement with Plaintiff. Because Defendants’

decision not to renew Plaintiff’s lease is not a retaliatory

action, but instead is entirely within their property rights as

a landlord, this court should deny Plaintiff’s Motion to Stay

her tenancy.

     Plaintiff     has   no    vested   right    in     continued    tenancy   at

Defendants’    property.       The     allegations       of     Plaintiff’s    own

complaint, combined with the multiple exhibits attached thereto,

demonstrate    long      running      problems    with        Plaintiff,   wholly

unconnected with her recent lawsuit. Plaintiff cannot be allowed
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to frustrate Defendants’ contractual rights simply by filing a

lawsuit.

     For the above and foregoing reasons, this Court must deny

Plaintiff’s   Motion/Petition      to   Judge   for   Stay   of   Plaintiff’s

Right to Tenancy at 11490 Latonka Trail Apt. D and to Amend

Complaint to Include Age Discrimination, Disparate Treatment and

Retaliation, and for such further relief the Court deems just

and necessary.



                                          BUCKLEY & BUCKLEY, L.L.C.

                                          By: /s/ Graham J. Spence
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                         CERTIFICATE OF SERVICE
     The undersigned hereby certifies that on this 20th day of
April, 2016, a copy of the above and forgoing was sent via U.S.
Certified Mail, postage prepaid to: Ms. Darrie Walton, 11490
LaTonka Trail, Apt. D, Florissant, MO 63033.


                                          /s/ Graham J. Spence
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